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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO


 Criminal Action No. 1:17-cr-00168-CMA-1

 UNITED STATES OF AMERICA,

              Plaintiff,

 v.

 KAREN LYNN MCCLAFLIN,

              Defendant.


                       ORDER TO SURRENDER IN LIEU OF
                  TRANSPORTATION BY THE UNITED STATES MARSHAL


        IT IS ORDERED that the Defendant, Karen Lynn McClaflin, having been

 sentenced in the above-named case to the custody of the Bureau of Prisons, is to

 surrender himself by reporting to the Warden at FMC Carsell, J St. Bldg. 3000 in Fort

 Worth, Texas, on May 14, 2019, by 12:00 Noon, and will travel at her own expense.


        DATED: April 9. 2019




                                         BY THE COURT:




                                         CHRISTINE M. ARGUELLO
                                         United States District Judge
